16-10407-dsj   Doc 1   Filed 02/24/16     Entered 02/24/16 19:45:11   Main Document
                                        Pg 1 of 6
16-10407-dsj   Doc 1   Filed 02/24/16     Entered 02/24/16 19:45:11   Main Document
                                        Pg 2 of 6
16-10407-dsj   Doc 1   Filed 02/24/16     Entered 02/24/16 19:45:11   Main Document
                                        Pg 3 of 6
16-10407-dsj   Doc 1   Filed 02/24/16     Entered 02/24/16 19:45:11   Main Document
                                        Pg 4 of 6
 16-10407-dsj   Doc 1   Filed 02/24/16     Entered 02/24/16 19:45:11   Main Document
                                         Pg 5 of 6
TransCare Corporation
Line 4
                                     Schedule 1

                             Location of Principal Assets

Baltimore, MD
Brooklyn, NY
Mt. Vernon, NY
Poughkeepsie, NY
Wappinger Falls, NY
West Chester, NY
White Plains, NY
16-10407-dsj   Doc 1   Filed 02/24/16     Entered 02/24/16 19:45:11   Main Document
                                        Pg 6 of 6
